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                                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
·----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY
                                                                                VIDEOCONFERENCE   () .
                            -v-                                                        A~           I I e>
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                                                                                                             vU
                                                                                q_J_~-d--L> (_)
Giovanni De La Mora
                                      Defendant(s).
--------------------------· ------------------- -.·-------------x
Defendant Giovanni De La Mora                                              hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

X        Initial Appearance/Appointment of Counsel

         Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

         Preliminary Hearing on Felony Complaint

         Bail/Revocation/Detention Hearing

         Status and/or Scheduling Conference

         Misdemeanor Plea/Trial/Sentence




Defendant's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

 c;; (JJ Cvv\.-'\ , ~\°"MV't"--                                      Jennifer Brown
Print Defendant's Name                                               Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


  11/4/2020
Date                                                                 U.S. Magistrate Judge
